                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                         )
                                                 )        Case No. 4:16-cr-11
v.                                               )
                                                 )        Judge Travis R. McDonough
BILLY GENE FUQUA                                 )
                                                 )        Magistrate Judge Susan K. Lee
                                                 )


                                             ORDER



       Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

the Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the

twelve count Indictment; (2) accept Defendant’s plea of guilty to the lesser offense of the charge

in Count One of the Indictment, that is of conspiracy to distribute and possess with intent to

distribute a mixture and substance containing a detectable amount of methamphetamine (actual),

a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C);

(3) adjudicate Defendant guilty of the lesser offense of the charge in Count One of the

Indictment, that is of conspiracy to distribute and possess with intent to distribute a mixture and

substance containing a detectable amount of methamphetamine (actual), a Schedule II controlled

substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C); (4) defer a decision on

whether to accept the plea agreement until sentencing; and (5) order that Defendant remain in

custody until sentencing in this matter. (Doc. 58.) Neither party filed a timely objection to the

report and recommendation. After reviewing the record, the Court agrees with the magistrate

judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the




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magistrate judge’s report and recommendation (Doc. 58) pursuant to 28 U.S.C. § 636(b)(1) and

ORDERS as follows:

   1. Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment is

       GRANTED;

   2. Defendant’s plea of guilty to the lesser offense of the charge in Count One of the

       Indictment, that is of conspiracy to distribute and possess with intent to distribute a

       mixture and substance containing a detectable amount of methamphetamine (actual), a

       Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

       841(b)(1)(C) is ACCEPTED;

   3. Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in Count One

       of the Indictment, that is of conspiracy to distribute and possess with intent to distribute a

       mixture and substance containing a detectable amount of methamphetamine (actual), a

       Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

       841(b)(1)(C);

   4. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

   5. Defendant SHALL REMAIN in custody until sentencing in this matter which is

       scheduled to take place on January 13, 2017 at 2:00 p.m. [EASTERN] before the

       undersigned.



                                              /s/Travis R. McDonough
                                              TRAVIS R. MCDONOUGH
                                              UNITED STATES DISTRICT JUDGE




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